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                                   STATEMENT OF FACTS

         Your affiant, Geoffrey Ford, is a Special Agent assigned to the Philadelphia Federal Bureau
of Investigation (“FBI”) Field Office, Harrisburg Resident Agency. I have been an FBI Special
Agent since August 2007. In my duties as a Special Agent, I am assigned to the violent crimes task
force. This task force is run by the FBI and is charged with conducting investigations into the
activities of individuals and criminal groups responsible for such violent crimes as murder, armed
robbery, carjacking, kidnapping and federal firearms statutes. As an FBI Special Agent, one of my
primary duties is the enforcement of federal laws and the protection of associated government
witnesses which surface in the course of these investigations and subsequent prosecution. I have
participated in numerous violent crimes investigations, during which I have executed federal
search and arrest warrants, reviewed and analyzed taped conversations, and debriefed witnesses,
including cooperating witnesses and confidential sources. Currently, one of the duties I am a tasked
with is investigating criminal activity in and around the U.S. Capitol grounds on January 6, 2021.
As a Special Agent with the FBI, I am authorized by law or by a Government agency to engage in
or supervise the prevention, detention, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
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       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
scores of individuals inside the U.S. Capitol building without authority to be there, in violation of
Federal laws. Photographs and videos of several of these persons were disseminated via social
media and other open source online platforms.

        Earlier this day, at approximately 1:00 p.m., a crowd of violent rioters assembled on the
West Front of the U.S. Capitol. U.S. Capitol Police formed a line of bike racks extending from the
north end of the West Front to the south end to act as a barrier against the crowd. Officers were
standing watch behind this line and fending off repeated attempts by the rioters to pull on the bike
racks, either with their hands or with ropes and straps.

       The FBI received a tip from Complainant-1 that Samuel LAZAR had been at the U.S.
Capitol on January 6, 2021. In a telephone interview on March 2, 2021, Complainant-1 advised
the FBI that (s)he had known LAZAR for approximately 28 years and in the aftermath of January
6, Complainant-1 viewed LAZAR’s Facebook page. There, Complainant-1 saw photos of LAZAR
dressed in tactical gear and saw photos of LAZAR around the Capitol building.

       FBI Harrisburg conducted open source research on LAZAR and viewed videos of LAZAR
outside the Capitol on January 6, 2021. LAZAR was dressed in a camouflaged tactical vest, black
hooded sweatshirt, and blue jeans. On his tactical vest was a patch that read, “Blessed be the Lord,
my rock, who trains my hands for war, and my fingers for battle.” At times, LAZAR wore green
ski goggles to protect his eyes from chemical irritants deployed by law enforcement, as depicted
in Figure One below:




                                                Figure One
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        LAZAR had his face painted in a camouflaged design and carried a radio on his tactical
vest, as depicted in Figure Two below:




                                             Figure Two

       At times, LAZAR also carried a red and white bullhorn, as depicted in Figure Three below:




                                            Figure Three
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       A posting to LAZAR’s Facebook profile shows LAZAR in the same distinctive clothing
he wore at the Capitol on January 6, as depicted in Figure Four below:




                                              Figure Four

         Open source video depicts LAZAR approach the police barricade line on the West Front
of the U.S. Capitol where he aimed a cannister resembling one that holds a chemical irritant in the
direction of U.S. Capitol Police and D.C. Metro Police, who were assisting the U.S. Capitol Police
at the time, as depicted in Figure Five below:
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                                           Figure Five

       A second open source video depicts LAZAR again approach the police barricade line on
the West Front where he deployed an orange chemical irritant in front of U.S. Capitol Police
Officers and D.C. Metro Police Officers, as depicted in Figure Six below:
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                                                Figure Six

        Footage from the body worn camera of the D.C. Metro Police Officer in front of LAZAR
in Figure Six (“Officer-1”) shows that at approximately 1:13 p.m., LAZAR walked along the
police line, grabbed the bike rack and pulled it with his left hand in an attempt to remove it, while
discharging the chemical irritant from a canister in his right hand, as depicted in Figure Seven
below:
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                                               Figure Seven

       As shown on Officer-1’s body worn camera, LAZAR was told to “get back” and police
deployed a chemical irritant causing LAZAR to retreat down the steps. LAZAR then turned to face
Officer-1 and redeployed his chemical irritant toward Officer-1 and a U.S. Capitol Police Officer
(“Officer-2”) a second time, causing Officer-2 to lose the ability to see, as depicted in Figure Eight
below:




                                                Figure Eight

       Officer-1 reported that he was repeatedly exposed to Oleoresin capsicum (“OC”) spray,
also known as “pepper spray,” and CS gas while protecting the Capitol on January 6, 2021, which
rendered him unable to see and caused him to become unsteady on his feet at times.
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       Another open source video depicts LAZAR, purportedly at 4:30 p.m., as depicted in Figure
Nine below:




                                               Figure Nine

       In this video, LAZAR stated, “They maced us, those tyrannical pieces of shit, and we
maced them right the fuck back and now they’re taking the building.” Based on my training,
experience and knowledge of the case, with this statement, LAZAR meant that U.S. Capitol Police
and D.C. Metro Police deployed chemical irritant at LAZAR, and in response he intentionally
deployed a chemical irritant back at the police. LAZAR then referenced that the rioters had
successfully breached the Capitol building.

        In the video, LAZAR continued, “They attacked the people. We have a right to defend
ourselves. Fuck the tyrants. There’s a time for peace and there’s a time for war” while pointing to
the above-referenced patch on his chest. LAZAR answered a question from someone nearby by
stating, “I was right at the front, on the tip of the spear, brother. That’s where you gotta be.”

        On June 7, 2021, a police officer who has had personal contact with LAZAR confirmed
the individual in the videos, including the pictures depicted above, spraying a chemical irritant
toward the U.S. Capitol Police and D.C. Metro Police and admitting to doing so, is Samuel
LAZAR. Your affiant has compared the individual in the pictures and videos referenced above to
known photographs of LAZAR, and in my opinion, the individual in the pictures and videos above
is Samuel LAZAR.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
Samuel LAZAR violated 18 U.S.C. § 111(a) and (b), which makes it a crime to, with a deadly or
dangerous weapon, forcibly assault, resist, oppose, impede, intimidate or interfere with a Federal
law enforcement officer as designated in Section 1114 of Title 18, while engaged in or on account
of the performance of official duties. For purposes of Section 1114 of Title 18, an officer or
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employee includes any person assisting such an officer or employee in the performance of such
duties or on account of that assistance.

        Your affiant submits there is also probable cause to believe that LAZAR violated 18 U.S.C.
§ 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct, impede,
or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation or action carried out under the laws of the United States, by any department,
agency or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

        Additionally, your affiant submits that there is probable cause to believe that LAZAR
violated 18 U.S.C. § 1752(a)(1) and (4), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do; and (4) knowingly engages in
any act of physical violence against any person or property in any restricted building or grounds,
or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.



                                                     _________________________________
                                                     Special Agent Geoffrey Ford
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of July 2021.
                                                                           2021.07.21
                                                                           19:35:23 -04'00'
                                                     ___________________________________
                                                     HON. ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE
